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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                      CASE NO.: 4:05cr15-SPM

LYNN YUE,

           Defendant.
____________________________/

  ORDER DENYING MOTION FOR REVOCATION OF DETENTION ORDER

       Pending before the Court is Defendant Lynn Yue’s Motion for Revocation

of Detention Order (doc. 13), to which the Government has filed a written

response (doc. 17). Defendant contends that the Magistrate Judge erred when

he detained her, at least in part, on the basis of dangerousness because her

case does not meet a condition of Title 18, United States Code, Section

3142(f)(1). Defendant also argues that there are conditions of release that would

reasonably assure her appearance and that therefore she must be released.

Having carefully considered the written arguments of the parties and the record

of the detention hearing pursuant to Title 18, United States Code, Section

3145(b), the Court finds that the Magistrate Judge considered all appropriate

factors and that pretrial detention is necessary in this case.
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        DISCUSSION

        Several statutory provisions are involved in determining the issue of bail

and detention. Among these is Title 18, United States Code, Section 3142(f),

which lists six types of cases in which a detention hearing must be held.1 The

authority to hold a detention hearing is limited by related provisions to only the



        1
          Section 3142(f) provides in relevant part:
   (f) Detention Hearing.–The judicial officer shall hold a hearing to determine
whether any condition or combination of conditions as set forth in subsection (c)
of this section will reasonably assure the appearance of such person as required
and the safety of the community–
           (1) upon motion of the attorney for the Government, in a case that
        involves–
                   (A) a crime of violence, or an offense listed in section
                2332b(g)(5)(B) for which a maximum term of imprisonment of 10
                years or more is prescribed;
                   (B) an offense for which the maximum sentence is life
                imprisonment or death;
                   (C) an offense for which a maximum term of imprisonment of ten
                years or more is prescribed in the Controlled Substances Act (21
                U.S.C. 801 et seq.), the Controlled Substances Import and Export
                Act (21 U.S.C. 951 et seq.), or the Maritime Drug Law Enforcement
                Act (46 U.S.C. App. 1901 et seq.), or
                   (D) any felony if such person has been convicted of two or more
                offenses described in subparagraphs (A) through (C) of this
                paragraph, or tow or more State or local offenses that would have
                been offenses described in subparagraphs (A) through (C) of this
                paragraph if a circumstance giving rise to Federal jurisdiction had
                existed, or a combination of such offenses; or
           (2) Upon motion of the attorney for the Government or upon the judicial
        officer’s own motion, in a case that involves–
                   (A) a serious risk that such person will flee; or
                   (B) a serious risk that such person will obstruct or attempt to
                obstruct justice, or threaten, injure, intimidate, or attempt to
                threaten, injure, or intimidate, a prospective witness or juror.
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types of cases listed in 3142(f). See 18 U.S.C. § 3142(a)2 and (e)3. Taken

together, the provisions authorize detention only after a hearing pursuant to

3142(f) and such a hearing is authorized, and mandatory, only for cases meeting

the requirements of 3142(f). In all other cases, the defendant must be released

upon first appearance or, in limited circumstances, temporarily detained to permit

revocation of conditional release, deportation, or exclusion. 18 U.S.C. § 3142(a).

        Section 3142(f) lists six categories of cases where a detention hearing is

authorized. Under subsection (1) of 3142(f), a detention hearing must be held on

motion by the Government in cases involving:

        1. certain violent offenses,



        2
           Section 3142(a) lists the four options available for release or detention
upon first appearance. It states:
   (a) In general.–Upon the appearance before a judicial officer of a person
charged with an offense, the judicial officer shall issue an order that, pending
trial, the person be–
            (1) released on personal recognizance or upon execution of an
         unsecured appearance bond, under subsection (b) of this section:
            (2) released on a condition or combination of conditions under
         subsection (c) of this section:
            (3) temporarily detained to permit revocation of conditional release,
         deportation, or exclusion under subsection (d) of this section; or
            (4) detained under subsection (e) of this section.
        3
          Section 3142(e) provides in relevant part:
   (e) Detention.–If, after a hearing pursuant to the provisions of subsection(f) of
this section, the judicial officer finds that no condition or combination of
conditions will reasonably assure the appearance of the person as required and
the safety of the community, such judicial officer shall order the detention of the
person before trial.
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        2. offenses with a maximum sentence of life imprisonment or death,

        3. certain drug offenses, or

        4. any felony offense if the defendant has been convicted of two or more

                offenses that fall within categories 1-3 above.

Under subsection (2) of 3142(f), a detention hearing must be held, either on

motion by the Government or on the Court’s on motion, in any case where:

        5. the defendant poses a serious risk of flight, or

        6. the defendant poses a serious risk of obstruction of justice.

Notably absent from the six categories is a specific reference to persons

presenting a danger to the community or to another person.

        Danger is noted in other statutory provisions that a judicial officer must

follow in determining whether a defendant should be detained or released.

Specifically, section 3142(e) requires that the defendant be detained if the judicial

officer finds that “no condition or combination of conditions will reasonably assure

the appearance of the person as required and the safety of any other person and

the community.” 18 U.S.C. § 3142(e) (emphasis supplied). Section 3142(g)

further provides that “in determining whether there are conditions of release that

will reasonably assure the appearance of the person as required and the safety

of any other person and the community, [the judicial officer shall] take into

account . . . the nature and seriousness of the danger to any person or the

community that would be posed by the person’s release.” 18 U.S.C. § 3142(g)

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(emphasis supplied).

        The statutory provisions, taken together, present a complicated scheme

for considering dangerousness as a basis for detention. Although the proper

treatment of dangerousness is at issue between Defendant and the Government,

both sides agree on at least two things. First, a detention hearing under 3142(f)

must take place before detention can be ordered under 3142(a). Second,

dangerousness is not a basis for holding a detention hearing under 3142(f).

        The parties disagree on whether there are limitations on consideration of

dangerousness once a condition for granting a hearing under 3142(f) is satisfied.

The Government takes the position that dangerousness is a legitimate factor to

consider so long as the Defendant proves any of the six circumstances listed in

3142(f)(1) or (2). Defendant, on the other hand, contends that dangerousness is

a legitimate factor only upon proof of one of the first four circumstances listed

under 3142(f)(1).

        In support of her position, Defendant relies on cases from various United

States Circuit Courts of Appeal, since there are no cases from the Eleventh

Circuit addressing the issue. In the cases, detention orders based on

dangerousness were reversed where the defendants did not fall within one of the

first four categories of 3142(f)(1), and the defendants did not pose a serious risk

of flight under 3142(f)(2)(A) or a serious risk of obstructing justice under

3142(f)(2)(B). United States v. Himler, 797 F.2d 156, 160 (3d Cir. 1986); United

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States v. Ploof, 851 F.2d 7, 11-12 (1st Cir. 1988); United States v. Byrd, 969 F.2d

106, 109-110 (5th Cir. 1992). Implicit in the decisions is a recognition that

danger to the community is subsumed within the first four categories listed in

3142(f)(1). See United States v. Salerno, 481 U.S. 739, 747 (pretrial detention

under the Bail Reform Act is not excessive in relation to the legitimate regulatory

goal of preventing danger to the community because the circumstances under

which detention may be sought is limited to “the most serious of crimes.”);

Himler, 797 F.2d at 159-160 (statutorily specified crimes for detention hearing

reflect “dangerousness in a very real sense”). Therefore, to the extent

dangerousness is a basis for holding a detention hearing, that dangerousness

must be manifest by the serious crimes listed in 3142(f)(1). Dangerousness on

its own is not a basis for ordering a detention hearing.

        Based on these cases, Defendant contends that dangerousness cannot

be considered whatsoever when ordering detention in cases that do not fall

within 3142(f)(1). The holdings in the cases, however, do not go so far. In all of

the cases where detention orders were reversed, detention was based solely

upon the risk of danger to the community. Danger by itself, however, does not

even authorize holding a detention hearing, which is a prerequisite to a valid

order of detention. 18 U.S.C. §§ 3142(f) and (a). At least one of the

circumstances triggering a detention hearing, either under 3142(f)(1) or (2), must

be present for a detention hearing and subsequent detention order. No such

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circumstances were present in any of the cases cited, so the detention orders

were invalid on that basis alone.

        Although there are broad statements in the Himler case that can be taken

to support Defendant’s position4, the Himler court nevertheless recognized that

Himler did not present a serious risk of obstruction of justice under 3142(f)(2)(B).

Himler, 797 F.2d at 160. The court also recognized that the district court made

no finding of risk of flight to justify a hearing under 3142(f)(2)(A). Id. After

reviewing the matter on its own, the court found no risk of flight that would

warrant detention. Id. at 160-162. In making this finding, the court noted that it

was “guided by the factors set forth in Section 3142(g).” The court did not

expressly acknowledge or repudiate consideration of “the nature and seriousness

of the danger to any person or the community that would be posed by the

person’s release[,]” which is a factor listed in 3142(g)(4).

        The interplay between the circumstances required for a hearing under

3142(f) and the factors to consider in determining whether release conditions can

be fashioned under 3142(g), specifically with regard to dangerousness, can be


        4
          “Therefore it is reasonable to interpret the statute as authorizing
detention only upon proof of a likelihood of flight, threatened obstruction of justice
or danger of recidivism in one or more of the crimes actually specified by the bail
statute.” Himler, 797 F.2d at 160 (emphasis supplied). “Accordingly, we hold
that the statute does not authorize detention of the defendant based on danger to
the community from the likelihood that he will if released commit another offense
involving false identification. Any danger which [defendant] may present to the
community may only be considered in setting conditions of release.” Id.
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harmonized.

        Once a judicial officer determines that a detention hearing is
        warranted, the concept of danger to the community resurfaces.
        Section 3142(g) sets forth the factors to be considered by the court
        in deciding the propriety of detention. One of those factors is “the
        nature and seriousness of the danger to any person or the
        community that would be posed by the person’s release.” 18
        U.S.C. § 3142(g)(4). While at first blush this appears to create the
        classic giveth/taketh away situation, such is not the case. The
        factors set forth in § 3142(g) come into play only after the
        government has met the initial burden of satisfying the
        requirements of § 3142(f)(1) or (f)(2). It is certainly reasonable that
        a judicial officer consider the community in evaluating whether
        there are appropriate conditions of release.

United States v. Butler, 165 F.R.D. 68, 71 (N.D. Ohio 1996). This interpretation

is consistent with the case law holding that dangerousness, without more, cannot

justify an order of detention for the simple reason that dangerousness is not a

basis for holding a detention hearing. The interpretation is also consistent with

the plain language of the statute, which generally controls. United States v. Ron

Pair Enterprises, Inc., 489 U.S. 235, 242 (1989) (“The plain meaning of

legislation should be conclusive, except in the ‘rare cases [in which] the literal

application of a statue will produce a result demonstrably at odds with the

intentions of its drafters.’”).

        Under the plain language of the statute, dangerousness, except as

reflected in the offenses listed in § 3142(f)(1), cannot justify holding a detention

hearing. Once, however, the burden is met to show that a detention hearing is

warranted based on any of the circumstances listed in § 3142(f)(1) or (f)(2),

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dangerousness is a factor that the judicial officer must consider under § 3142(g)

in determining whether defendant should be detained or whether appropriate

conditions can be fashioned for release.

        The magistrate judge, when conducting the hearing in the instant case,

understood that the Government had the burden of showing that a detention

hearing was warranted on grounds other than dangerousness.5 The evidence

presented to the magistrate judge was sufficient to show that Defendant

presented a serious risk of flight, so as to justify holding a detention hearing

under § 3142(f)(2)(A).

        In particular, the evidence showed that Defendant had not complied with

previous court orders, as demonstrated by her possession of Tylenol #3 and the

new criminal charges she incurred after being admitted to drug court in Leon

County. The evidence also showed that Defendant is seriously addicted to



        5
         See Doc. 10, Transcript of Detention Hearing Before the Honorable
William Sherrill, United States Magistrate Judge, April 8, 2005, at p. 3:

       THE COURT: But this is not a danger to the community situation; is that
correct?
       MS. RHEW: There will be evidence introduced of that, which I think should
be considered by the court on bond conditions, so –
       THE COURT: But that’s not the premise of the –
       MS. RHEW: The basis for moving is that there are no conditions or
combinations of conditions that would assure the defendant’s appearance based
on her past history and some evidence of obstruction of justice and the risk
thereof.
       THE COURT: All right. You may proceed, and I’ll sort it out.
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prescription medication. Defendant has gone to great means to unlawfully obtain

medications and to continue using them, despite the inevitable consequences.

Addiction gives Defendant a strong motive to flee from the charges in this case,

and Defendant’s demonstrated skill at deception provides her with the ability to

do so. The Court finds, therefore, that Defendant meets the circumstances of §

3241(f)(2)(A), so as to warrant a detention hearing.

        In determining whether a detention order was warranted in this case, the

Magistrate Judge appropriately considered the factors set forth in § 3142(g),

including the danger Defendant would pose to any person or the community if

she were released. This danger included the likelihood that Defendant would

continue using unlawful substances and continue committing frauds. It also

included a danger that Defendant would attempt to obstruct justice.6

        Even if, however, danger is not an appropriate consideration, detention

would still be warranted in this case. Defendant’s demonstrated lack of control

over her drug problem, regardless of any danger to the community that her

continued drug use would pose, provides a strong motive for flight. Defendant


        6
           As noted in the detention order, doc. 12:
                4. Defendant assumed [her employer’s] identity to obtain 14
        plastic surgery treatments, the last ending in December, 2004.
                5. Three days after Defendant was arrested, she called the
        office manager at the plastic surgeon’s office and tried to schedule
        an appointment to come by and talk about “personal matters.” the
        only personal matter common to both would have been to keep this
        fraud from the police.
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has shown that she will go to great lengths to continue using drugs. Flight from

these charges is therefore a high risk.

        Defendant’s risk of flight is even more serious given her ability and

willingness to engage in frauds, which would enable Defendant to finance her

flight. The fraud, regardless of the danger to the community, greatly increases

the risk of flight.

        In addition to Defendant’s own control issues concerning her addiction and

frauds, other circumstances show a lack of stability that increases the risk of

flight. Defendant lost her job as a result of her arrest on January 7, 2005.

Defendant’s husband, having overstayed his visa, is not legally in this country.

As noted by the magistrate judge, “[t]he risk of drug abuse pending trial is great

for a person who is addicted to prescription medications, given the emotional

trauma that is inevitable before trial.” Doc. 21 at p. 2. Defendant’s

unemployment and her husband’s visa situation are sources of additional stress.

The circumstances, furthermore, reduce Defendant’s ties to the community and

provide additional motive to flee instead of staying to face the charges.

        Defendant has a poor track record for compliance. She continued to

violate the law after her arrest on state charges. She attempted to contact a

potential witness to conceal some of her fraud. Defendant’s conduct

demonstrates that she is out of control. Given Defendant’s drug problem and her

ability and willingness to manipulate others, there are no conditions of release

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that would reasonably assure her appearance as required.

        CONCLUSION

        A detention hearing was warranted in this case based on Defendant’s

serious risk of flight and serious risk of obstruction of justice, pursuant to section

3142(f)(2). In determining that no conditions of release could be fashioned, the

magistrate judge properly considered all of the factors set forth in section

3142(g), including the danger to the community that would be posed by

Defendant’s release. Even if, however, dangerousness is not an appropriate

consideration, detention is warranted because no conditions would reasonably

assure Defendant’s appearance as required. Accordingly, it is

        ORDERED AND ADJUDGED that the Motion for Revocation of Detention

Order (doc. 13) is denied.

        DONE AND ORDERED this 10th day of May, 2005.


                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge




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